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IN THE UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF MONTANA

BUTTE DIVISION

PHYLLIS SAXON, SANDRA
IVERSON, and OLD WEST
SALOON, LLC,

Plaintiffs,
vs.

CITY OF DILLON, MONTANA, a
body politic, DILLON POLICE
CHIEF PAUL CRAFT, in his
individual and official capacity,
DILLON POLICE CHIEF DONALD
GUIBERSON, in his individual and
official capacity, and OFFICER
JOSEPH HORROCKS, in his
individual and official capacity and
JOHN DOES 1I-X,

Defendants.

 

 

No. CV 19-16-BU-SEH

ORDER

On January 7, 2021, Defendant Officer Joe Horrocks filed a Request for

Entry of Amended Judgment:!

 

1 Doc. 189.
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The has Court previously issued four separate Orders? in this case, which
taken together, dismissed all claims against all named Defendants.

ORDERED:

All claims against all Defendants having been dismissed, the Clerk, in
compliance with Federal Rule of Civil Procedure 58(b)(1), is directed to enter an
amended final judgment confirming dismissal of all claims against all Defendants
and to close the case.

DATED this _// ve of January, 2021.

tKaklrr

AM E. HADDON \
United States District Judge

 

2 See Docs. 89, 152, 169, and 184.
